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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

LOUISE BAYLISS, et al.                                  Case No. 1:16-cv-594

       Plaintiffs,                                      Judge Susan J. Dlott
vs.

WEST CHESTER HOSPITAL, LLC, et al.

       Defendants.

                                 ORDER OF REMAND


       On February 13, 2016, in consolidated Case No. 1:16-cv-004, this Court entered

an order remanding to state court 227 civil actions alleging medical malpractice by

Abubakar Atiq Durrani, M.D., which state cases had been removed to this Court. The

Court found that the state civil actions did not comprise a mass action as defined in the

Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(11). Defendants appealed the

order of remand to the Court of Appeals for the Sixth Circuit. The Court of Appeals

denied that appeal and subsequently issued their mandate in that case. See Daniel et al. v.

Ascira Partners, LLC et al., Sixth Circuit Case No. 16-3549, Docs. 38, 52.

       The present case was removed by Defendants under the same mass action theory

presented in consolidated Case No. 1:16-cv-004. Because that theory of removal has

already been held to be improper by the Court of Appeals for the Sixth Circuit, remand is

appropriate in this case. Accordingly, (1) This case is REMANDED to the state court

from which it was removed; (2) the Clerk shall enter Judgment accordingly; and (3) this

case is TERMINATED from the docket of this Court.
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      IT IS SO ORDERED.

Date: 10/3/16                                    s/Timothy S. Black
                                                 Timothy S. Black
                                                 United States District Judge
